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 1                                                                    MAGISTRATE JUDGE
 2
 3
                                UNITED STATES DISTRICT COURT
 4
                               WESTERN DISTRICT OF WASHINGTON
 5                                       AT SEATTLE

 6
     UNITED STATES OF AMERICA,                    )   No. MJ23-555
 7                                                )
                       Plaintiff,                 )
 8                                                )   RESPONSE IN OPPOSITION TO
                  v.                              )   GOVERNMENT’S MOTION FOR
 9                                                )   DETENTION
     FLORIN NICOLAE,                              )
10                                                )
                       Defendant.                 )
11                                                )
12
13           Mr. Florin Nicolae requests this Court release him to home confinement and

14   opposes the government’s motion for detention.

15   I.      THIS COURT SHOULD RELEASE MR. NICOLAE TO HOME
             CONFINEMENT.
16
             A.        Release to home confinement will reasonably assure Mr. Nicolae’s
17                     appearance and the safety of the community.
18           The Bail Reform Act presumes release and “[o]nly in rare circumstances should
19   release be denied.” United States v. Motamedi, 767 F.2d 1403, 1405 (9th Cir. 1985).
20   Mr. Nicolae is facing federal criminal charges for the first time and has no convictions.
21   Even if the Court has “[d]oubts regarding the propriety of release,” those doubts
22   “should be resolved in favor of the defendant.” Id.
23           Mr. Nicolae resides in Mountlake Terrace, Washington, at the address specified
24   on his driver’s license. The government arrested him at or near that location. The Court
25   can order him released pending Pretrial Service’s confirmation that the address and
26   property are appropriate.

                                                                     FEDERAL PUBLIC DEFENDER
          RESPONSE IN OPPOSITION TO                                     1601 Fifth Avenue, Suite 700
          GOVERNMENT’S MOTION FOR DETENTION                               Seattle, Washington 98101
          (U.S. v. Nicolae, MJ23-555) - 1                                            (206) 553-1100
                    Case 2:23-mj-00555-JLW Document 7 Filed 11/21/23 Page 2 of 3




 1             Mr. Nicolae wants to see his wife and family again before going to California to
 2   face his charges. He and his wife are Romanian citizens, speak only Romanian, and
 3   have not been able to contact each other. Counsel has been unable to reach
 4   Mr. Nicolae’s wife since his arrest. Mr. Nicolae is willing to comply with home
 5   confinement, device restrictions, passport surrender, and any other conditions the Court
 6   orders.
 7             B.      The government does not have clear and convincing evidence that
                       Mr. Nicolae will not appear.
 8
               The government argues only that Mr. Nicolae will not appear and has waived
 9
     any argument on safety. Dkt. 5.
10
11                     1.    The government must show clear and convincing evidence.
               Due process requires the government to show by clear and convincing evidence,
12
     not just a preponderance, that Mr. Nicolae will not appear for court. This means it must
13
     be “highly probable or reasonably certain” that he will not appear. See United States v.
14
     Jordan, 256 F.3d 922, 930 (9th Cir. 2001) (quoting Black’s Law Dictionary). “[T]he
15
     proper burden of proof is determined by weighing the magnitude of the societal and
16
     individual interests at stake in the determination, and assigning the risk of error
17
     accordingly.” Motamedi, 767 F.2d at 1414 (citing Addington v. Texas, 441 U.S. 418,
18
     425–27 (1979)). Mr. Nicolae “has a basic and significant liberty interest in not being
19
     confined pending trial.” Id. That interest is “more substantial than mere loss of money,”
20
     and thus requires clear and convincing evidence. Id. (quoting Addington, 441 U.S. at
21
     424 (requiring clear and convincing evidence for civil commitment)).
22
               Some courts addressing other pretrial detention issues say the preponderance
23
     standard is “usually applied in pretrial proceedings.” See, e.g., United States v. Orta,
24
     760 F.2d 887, 891 (8th Cir. 1985) (citing United States v. Freitas, 602 F.Supp. 1283
25
     (N.D. Cal. 1985)). But the underlying cases do not deal with taking away an accused
26

                                                                     FEDERAL PUBLIC DEFENDER
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               Case 2:23-mj-00555-JLW Document 7 Filed 11/21/23 Page 3 of 3




 1   person’s liberty. Freitas, 602 F.Supp. at 1293, citing Lego v. Twomley, 404 U.S. 477
 2   (1972) (voluntariness of a confession); United States v. Matlock, 415 U.S. 164 (1974)
 3   (consent to a search).
 4                 2.     Mr. Nicolae is reasonably likely to appear.
 5          Mr. Nicolae does not appear to have any pending warrants. While the Pretrial
 6   Services report mentions a non-extraditable California warrant from 2019, there was
 7   recently “arrest record relief” in that case, which is available for “dismissal or
 8   completion of a diversion program.” 18 U.S.C. § 3142(g)(3). Mr. Nicolae’s
 9   immigration status is irrelevant, and the Court must treat him “notwithstanding the
10   applicability of other provisions of law governing release pending trial or deportation or
11   exclusion proceedings.” Id. § 3142(d); United States v. Santos-Flores, 794 F.3d 1088,
12   1091 (9th Cir. 2015).
13          The government charges Mr. Nicolae with making fraudulent ATM balance
14   inquiries at an ATM. Indictment at ¶¶ 35–36. It alleges no other offense conduct and
15   provides no evidence. 18 U.S.C. §§ 3142(g)(1)–(2). See also United States v.
16   Townsend, 897 F.2d 989, 994 (9th Cir. 1990) (“[W]eight of the evidence … is the least
17   important of the various factors.”) (cleaned up).
18          Respectfully submitted this 21st day of November 2023.
19
                                                s/ Mukund Rathi
20                                              Assistant Federal Public Defender
                                                Attorney for Florin Nicolae
21
22   I certify this response contains 652 words in compliance with the Local Criminal Rules.

23
24
25
26

                                                                      FEDERAL PUBLIC DEFENDER
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